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                    Exhibit 20
            TTV FEC Complaint Agreement
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                  AGREEMENT FOR LEGAL SERVICES

 THIS AGREEMENT is made and entered into by and between True the Vote, Inc.
 and Catherine Engelbrecht (“TTV” or “Client”) and The Bopp Law Firm, P.C.
 (hereinafter “The Firm”) (the “Parties”). This agreement supersedes any and all
 previously executed agreements between TTV and The Firm with respect to the
 services contemplated herein.

 WHEREAS, TTV desires to retain The Firm to represent it in defending against a
 complaint filed with the Federal Election Commission (“FEC Complaint) specifically
 denominated as Matter Under Review (“MUR”) 7894.

 THE PARTIES AGREE as follows:

 Section 1 Payment for legal services. TTV agrees to pay all attorney fees, costs, and
 expenses arising out of the Firm’s provision of legal services in defending against
 the FEC Complaint denominated as MUR 7894.

 Section 2 Retainer to be charged. On December 27, 2020, TTV agreed to pay a
 retainer of $500,000 for legal services (“Second Retainer”) in a law suit challenging
 TTV’s Validate the Vote project in Georgia, Fair Fight v. TTV (“Fair Fight Case”).
 TTV agrees that the Firm may also charge against the Second Retainer any fees
 earned and costs and expenses incurred in defending against the FEC Complaint
 denominated as MUR 7894. Fees, costs and expenses shall be due and payable on
 the date of the invoice and shall be credited against the Second Retainer on that
 date. If the Second Retainer is exhausted in the performance of all legal services
 contemplated to be paid from the Second Retainer, the amount of fees, costs and
 expenses that exceed that provided in the Second Retainer shall be due and payable
 by TTV on the date of the invoice. If TTV has a deposit balance from the Second
 Retainer at the conclusion of all legal services contemplated to be paid from the
 Second Retainer and if payment for all such legal services have been made, this
 balance shall be refunded to TTV.

 Section 3 Hourly Rates. TTV will pay the following hourly rates for attorneys:
 $850/hour for James Bopp, Jr., $700/hour for Richard E. Coleson, $540/hour for
 Jeffrey P. Gallant, $365/hour for Courtney Milbank and for Joseph Maughon, and
 $322/hour for Melena Siebert. Other attorneys may assist at The Firm's discretion
 at their corresponding hourly rates charged by The Firm. Hourly rates for attorneys
 undergo periodic review and may increase during the term of this Agreement upon
 notice to TTV.

 Section 4 Costs and Expenses TTV is responsible for all reasonable costs and
 expenses, which are in addition to the hourly charges for legal services. Costs and
 expenses include, but are not limited to, court charges, copies, postage, telephone,


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 fax, travel, parking, special materials, exhibits, photographs, investigators, experts,
 computer assisted legal research and all other disbursements, costs, or expenses
 attributable to said legal services. TTV agrees to pay for computer assisted legal
 research at $3.00 per minute. TTV agrees to pay for copies and facsimiles (incoming
 or outgoing) at the rate of $.25 per page for 1-25 total pages, $.15 per page for 26-
 100 total pages, and $.10 per page for more than 100 total pages. Total pages are
 those copied or facsimiled during a copying or facsimiling event.

 Section 5 Invoices. The Firm shall invoice TTV monthly for any fees, costs or
 expenses incurred under this Agreement. All invoices are due and payable within
 30 days of receipt. Each invoice shall constitute an account stated and objections
 must be made in a reasonable time. Interest accruing at 1.5% per month will be
 applied to past due accounts until paid. TTV agrees to pay all attorney fees, costs
 and expenses of collecting TTV’s account if legal action is taken to collect fees, costs
 and expenses due The Firm.

 Section 6 Client’s Cooperation. By this Agreement, Client agrees to cooperate with
 the Firm and provide all information known to Client or available to Client, which
 in the opinion of the Firm would aid in its representation of Client in this matter.
 Client further agrees to notify the Firm immediately of any change in Client’s
 address or contact information, to review all documentation sent to Client by the
 Firm, and to promptly and thoroughly participate in the preparation and/or
 production of any documents that we request of Client.

 Section 7 Termination The Firm will be obligated to honor any instructions of TTV
 requesting termination of the Firm’s provision of legal services in defending against
 the FEC Complaint denominated as MUR 7894 only if such instructions are
 delivered to The Firm in writing bearing the TTV’s personal signature. If TTV
 elects to terminate The Firm's representation, TTV is responsible for all fees, costs,
 and expenses incurred pursuant to this Agreement. Should The Firm be required to
 perform any services or functions after receipt of such instructions, TTV is
 responsible for any fees, cost, and expenses for these services.

 Section 8 Withdrawal by the Firm. The Firm also may withdraw from the
 representation of TTV, upon TTV’s failure to make payments in accordance with
 this Agreement, failure to cooperate with the agreed provisions of representation, or
 failure to follow the advice of the Firm, or under any circumstances permitted by or
 required by the Indiana Rules of Professional Conduct. Any termination of The
 Firm’s representation would be subject to the approval of the tribunal and will only
 be done after reasonable notice has been provided.




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 Section 9 File Retention and Destruction At the conclusion of the matter addressed
 in this Agreement, documents and property that Client has provided to us will, at
 Client’s request, be returned to Client. The Firm shall retain Client’s legal files for
 an indefinite period. At any time after five years have elapsed since the conclusion
 of the matter, after ten business days of notifying Client in writing, which includes
 by electronic mail sent to Client’s last known electronic mail addresses, The Firm
 may destroy these files unless Client notifies The Firm in writing that it wishes to
 take possession of them. The Firm reserves the right to charge administrative fees
 and costs associated with researching, retrieving, copying, and delivering such files.

 Section 10 Disputes. This Agreement shall be governed by Indiana law and courts
 in the State of Indiana. Any dispute arising under or in connection with the
 Agreement or related to any matter which is the subject of this Agreement shall be
 resolved on the basis of Indiana law without giving effect to Indiana’s conflict of law
 principles and brought in a court located in Indiana.

 The undersigned persons represent that they are duly authorized to sign this
 Agreement and hereby agree to the terms and conditions of legal employment, as
 specified above.

 This agreement may be signed in any number of counterparts. Each counterpart is
 an original and together, all of the counterparts form a single document. Signatures
 delivered by email in PDF format shall be effective.


                            , for TTV
 Catherine Engelbrecht, President,              Date
 True the Vote, Inc.


                              , for the Fi rm
 James Bopp, Jr.                                Date
 The Bopp Law Firm, P.C.
 Terre Haute, Indiana




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